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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 DANIEL FAORO,                                       )
                                                     )
                Plaintiff,                           )        Case No. 1:25-cv-289
                                                     )
                v.                                   )        Hon. Amy Berman Jackson
                                                     )
 JEWISH VOICE FOR PEACE, INC., et al.,               )
                                                     )
                Defendants.                          )
                                                     )
                                                     )

DEFENDANT JEWISH VOICE FOR PEACE AND PLAINTIFF’S JOINT MOTION TO
  STAY BRIEFING ON CLASS CERTIFICATION AND FOR ENTRY OF AGREED
             BRIEFING SCHEDULE ON MOTIONS TO DISMISS


       Defendant Jewish Voice for Peace, Inc. (JVP) and Plaintiff Faoro jointly move to stay

briefing on Plaintiff’s motion for class certification and for entry of an agreed briefing schedule

on Defendants’ pending motions to dismiss, and in support thereof states as follows:

       1.      Plaintiff filed a motion for class certification on June 9, 2025. Dkt. 42. Per Local

Civil Rule 7(b), Defendants’ responses in opposition are currently due on June 23, 2025.

       2.      On June 16, 2025, Defendant JVP filed its motion to dismiss Plaintiff’s

Complaint. Dkt. 52. All other Defendants who have been served also filed motions to dismiss on

that date, Dkt. 46, 47, 49, 50, with the exception of Defendant Shraim, who requested and was

granted an extension until June 30 for her response. Dkt. 44, Minute Entry of June 13, 2025.

       3.      Defendant JVP’s motion to dismiss argues, inter alia, that Plaintiff lacks Article

III standing and has failed to state a claim upon which relief can be granted, and seeks dismissal

under Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). Dkt. 52 at 4–8, 8–16.

       4.      If granted, Defendants’ motions to dismiss will dispose of the entire case.

Accordingly, Defendant JVP and Plaintiff agree that staying briefing on the issue of class

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certification until after this Court resolves those motions will serve the interests of both the

parties and the Court in conserving resources and promoting judicial economy.

       5.      Courts in this district have recognized that it is appropriate to stay briefing on

class certification pending the resolution of a Rule 12(b) motion particularly where, as here, a

party raises arguments regarding standing that implicate the court’s subject matter jurisdiction.

Taylor v. Federal Aviation Administration, No. 18-cv-00035 (APM), 2018 WL 1967127, at *1

(D.D.C. Feb. 8, 2018); see also Curtin v. United Airlines, Inc., 275 F.3d 88, 93 (D.C. Cir. 2001)

(affirming district court’s decision to resolve case on the merits before deciding the issue of class

certification); Berriochoa Lopez v. U.S., 309 F. Supp. 2d 22, 23 n.1 (D.D.C. 2004) (deciding

motion to dismiss without reaching the issue of class certification). “A stay will conserve the

parties’ and the court’s resources.” Taylor, 2018 WL 1967127, at *1.

       6.      In addition, the parties conferred on a briefing schedule for the pending motions

to dismiss and agreed on the following proposed briefing schedule:

               a.      Plaintiff’s response due August 14, 2025; and

               b.      Defendants’ replies due September 3, 2025.

       7.      Plaintiff also requests that Plaintiff be permitted to file a single omnibus

opposition brief of up to 70 pages in response to all Defendants’ motions to dismiss. Defendant

JVP does not oppose Plaintiff’s request.

       8.      Defendant JVP has conferred with counsel for Defendants Dissenters, Palestinian

Youth Movement, WESPAC Foundation, Party for Socialism and Liberation, Brian Becker, and

Hannah Shraim (all the Defendants who have currently been served and appeared in this case),

all of whom agree with the relief sought and join in the request.




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       WHEREFORE, Defendant JVP and Plaintiff jointly request a stay on briefing on

Plaintiff’s motion for class certification until after the Court rules on Defendants’ motions to

dismiss, and further request entry of the agreed briefing schedule set forth herein.


Dated: June 18, 2025                                  Respectfully submitted,


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